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\N THE UN|TED STATES DlSTR\CT COURT UL LED Xas

SGUTHERN D!SCTRET UF TEXAS, HQUSTON D!V'§S?QN -l 1 2016

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nw

D€“fs¢h€ Bank Na“°“al T‘“St C°" c)BJECTIC)N TO PLAINTIFFS’ NOTICE

as _ , _ _ _ OF APPEARANCE AND NoTICE T0
The Resldentlal Asset Securmzauon WITHDRAW CQUNS EL.
Tl-ust 2007_A8, Mortgage PaSS_ EFENDANTS MOTION TO DISl\/HSS

_ _ OPPOSING COUNSEL HOPK[NS LAW
'l`hrough Certlflcates, Serles 2007-H AND SUMMARY JUDGMENT

Under the Pooling and Servicing §WFE]F][M]DS IN FAVOR OF
agreement dated June 1 2007 g

Plajntiff,
VS .

John Burke and Joanna
Defendants’.

 

GBJE€T{GNTQ PL&EN'}`}FFS’ NG'E`¥€E GF APPEARANCE &
NOT`{*CE 'i`{} WITHBRAW C{}UNSEL.
DEFENBANTS’ M€}TI€}NTG BESBHSS €}PP€}S}NG CGUNSEL
HOPK{NS LAW & SUMMARY JUDGMENTRE AFFIRMEB }N FAVOR
GF DEFENBANTS.

T{) THE HQNORABLE JUBGE OF SAID COURT:

N<)W eist B€t`endazzts amf heyeby Qb}?ect tex me abeve 110&€:€ by Pta'inti£fs’
attomeys, submtted June 21, 2916. Befenda§ts pyesex;t their objections together
With a Moti§)zz §§ D§snziss Qpposi§g Cmrn§el', fime Lafw, Feu'th€nnore,

Defendwats respecth request the reccsrd, amtions, pmings and filings pertaining

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to Hoplriiis Law be stricken from the record and Sumniaiy insignth in favor of the

Det`endaiits’ reatt'nined.

UNETHICAL FAILURE TO NOTIFYTHIS C(}URT OF CHANGE CF
lAW F}RM - UNBER THE GU¥SE €}F CHANGE GF LEA}} €GUNSEL

When Mr. Coury M. Jacoeks, the iast iii late of several BDE attorneys and
Who represented the Ptairiti£fs’ st the Ben€:h trialt failed to Wiii for the Piaintiff, Mr,
Jaeeelrs taft BDY, 'i`his was net accurately reflected iii the Coi,atreee§i by Hoplens
Law, a known set of zeakztis salesman aisi rnsitsziitstssn by the ssitt §riii.} The

Defendants Wi}i show Hepkiiis Law injected themselves ago this ease §WBy

APPLICABLE LAW ANB RULES €}F ETHICS
Attom.eys are subject to the professional and ahicai roles of the foam in

which they practice The Federst Rti.les of Civit Proeecttire, 23 B-S.C. § 15?271'z and

 

1 As eaiiy asthe l?§£is, the Uzi`sed States D`§siet Coiiit Gr theNoitt§iii Distriet offean identified
a “pernicious” practice of professional bullying, commenting that "'[W]ith alarming ii'equency, We
tins satiskabie justices snaattsrneytisre seenstsiEs`iiresolving trsieeesssry eoiitention and
sharp practices between lawyers . . . [and] retereeing abusive litigation tactics that range from
beings sieiviiity to outright obseisetion,” B§arii' Props, €o:p. in Commsree Sav. & loan Ass’n,
121 F.R.D. 284, 286 (N.D. TeX_ 1988). Despite judicial condemnation attorneys throughout the
country sti`§ meshsip pretense oraggessive taeties and treat Wis'sig eotsiset anépsrties with
disrespect See Castillo v. St. Paul Fire & Marine Ins. Co., 938 F.Zd 776, 779 (7th Cir. 1991)
(‘pre£essiom£ `§ieivi!i`ty {is} a simeon of gez§rai consent fm §ii`s eireuii and eisewhme. Modei
Rules and their state counterparts impose ethical obligations on counsel to behave professionally,
even spite assisting somersth for their e£ieritsg

2

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boththe 'Iexas State Bar and Ameiieaii Bar Assoeiatioo’s (“ABA”) Mottel, Rules of
Prot`essionat Contiuet.

General%y, ao attorney may withdraw from representng a party in a case
without the Coiirt‘s permission if another member of the attorneys firm or agency
Wiii condone to represent wit party soo the withorawiog attorney is not the only
member in good standing ofttie Bar ofthis Conrtrepresenting mar party. fn that
circumstance the vothiirawiog attomey would ooirg)lete and file "Notiee of
Appearanee or Withdrawai of Coniisei“l

Notably, however, Court permission for withdrawal or substitution is
required if no member of the withdrawing attorneys firm or agency win
remain as counsel of record.

In such eirc:i.iiiist:aiieesz die attorney(s) seeking to withdraw Wotdd tie a notice
of appearance or Withdrawai of counsel and submit a proposed order iegaiiis same
to the Co»tiitr ff the circumstances smounding an attorneys Withctrawai or request
to substitute other souosei are ooiqiie, a regokiriy noticed motion supported by a

more detailed nieinormriuin of points and authorities Would lie submitted,

FACTS
BDF law Grotip and then attorneys have represented the Ph`mt`r€fs since

meeption ofthis iaw suit Mr. Jaekoelrs represeiited. the Piaiiatiffs at the beach oial.

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'fhe following events took please afre.r me HQ;L ledge Smith ruled m favor of the

Defendeets;

(i) Doc, ?9, filed end recezzied 01131$‘ Mm‘eh 2615, is a Netice cprpeamnce of
New Couose}. lt _`r~; a submission byao entirety new }aW finn, omner Hopkms
lew, lespee;ien of des doemnem rex/mls ii is esk`mg me court 150 approve
attorney Mark Hopk'ms es lead €oensel

(ii) Suspiciously, Doc. 79does notask for W`thraw:al oer. lackecks,BDF Law
Group- This means there are two separate few firms representing me Pia`mtiff
in this Law suit

(iii) Attomeys seeking to mikde &om a case must first obtain the Com'ts
pemession. Nothing sheet Mr Jseocks Withdmwal is meets;ned in this filing
(Mareh 2015)¢

{iv) 011 Thursday,§zale 15, 2016, there was a stems hearing Mrs, Buzice objected
to “Bourxty Homef* Merk Hopkms ofHopkios laws deeming “He is a debt
coi¥eeter m purchased the deb:; for cents en the dolier”,

(V) 011 Tuesday, lone 21, 2%3£6j some 15 months after Doc. 79 (Where flomes
Law self-appointed themseives to this case), this Hon. Court receives and
records Doeg 1085 Notiee of Appearance of Co-Counsef and Request to
Withdraw Coury lecocks as Counsel Notabiy, no “Order” is attached by

Hopkins feerr

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(vi) NQ requests to Wiiizdraw are submitted by.Mr, Jasocks orBDF aiming this
perisd, March 2015 - lmra 2€}1:6, to this Hon. Court, fn e&er words, a&er

the beach zial, Mr. Jacock’s is cogspicucusly abseth by silence-2

ABGUT HGPKINS LAW

A§:er Mr. heech Was rmved item the case md leg the §m;, it would be
reasombke to assignee another attorney from BDF for any appeaf wouki have been
subsiitmed ead recorded.3 Instead, BD.F Law Group is ;‘eplaeed by a completely
new law Fizm, namer Hopkine I_aw ofAnstin, ?exas,

Hewever, this H<m. Cemt record yei}ects that Mr. Jeeecks QfBDF Was not
replace¢ fns;ead, Mr. Hoptzins made it appear he Was now “1ead counsef”= Tc)
anyone reviewing this case .t`de, he was new enjoined With Mr, Jax;ocks of BBF, on
the case (See Doc 79, datedMarch 31, 2615).

Comci§emally, and immediately after Mrs, Bm‘kes’ sta§emeaa£s made in Comt
(at the lime 16th states hearingj held in Conrt in Hous£e::)j regarding Hopkins law

few beigg refex:red to as “Beunty H;::z;e;‘s”, Suspiejeusiy they sudde¢dy tile this

 

2 Si¥enee is new the same §szg as cemen:. Seby v. Revlon Consmner Proé. Cezp., GF. Supp. 261
577, 582 (N.D. Tex 1997). See RESTATEMENT ('IH]RD) OF THE LAW GOVERNING
LAWYB%S § 122 ama e(;) {2990}, “An£ziguicies §§ a clem’s pmpened expzessi¢)§ demiseth
should be construed against the lawyer seeking the protection ot`the consent In general, a lawyer
my not assmze camera iam ae¥ient’s sims medeseenee.”.
355/eaa thmgh Defendazzts thought §§ laws;§ Wasatazae;ad.

5

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Motio:i to Withd:raw Mr. Jaeacks - iiteraiiy by the time Mark Hi>pkius feet }anded
back in Aus€ie.

Mr. Hopkins has submitted this iatest request to add his Wife as Co-Coimsei
and attempts te remove Mr. Iaeeeks With a “By the Way, We forget to Iet you know
tim BDF are not the isw iirm en this caseas Jaeoeks has a new job”.

The Bmkes’ strongly mame the view that Hopkins haw pmehased the debt
fresh the Phii:itiffs and the cases/as already at sii end by that iime as this Ceiirt had
already ruled for the Defendsnts.

le she Burke’s view, the tactics used by this weems cf fd`mg as an
attorney net as a new firm, is based on “tolling” e”g. the law Wouid demud: the
Piainiifi` refiie a new case Tizis 'Wouid be impossible in this csse, due to the Stamte
ofLimitefiens.

iii effeci §Hopkins Law deeded the mies peneixiiiig m Withdrawai and
repiaeement cf a new law firm ~ net just s lawyer change iri-house - abused
pre&ssienai ethics to revive the ease size siiew his firm te ssith iiseif to the law
suit by manipulation and deceptive practices

(i) Mr, Hepkiiis abused the iegei system by keeping “tiie Bimk” as the

plaintiff and sppkied himself as lead counsel (Docs 7'§>)f

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(ii)

(iii)

(i.v)

la this matter, improper gratification about the change of attorney -
which is actually a change of law him - is a material and lanham
misrepresentatieh, th this court

Accorrling to Texas Law, this is procedurally defective and is a blatant
attempt to cover up the enter by using his Wife’s “Co-Cotmsel"
appointment as a smoke-screen for this material error in law,

As stated aheve, replacing BDF with a hew law l?iim appointment is
far more serious 'l`exas law has stringent procedural requests to
Withrlraw a Law Fimi and replace it With another and it requires
approval by this Hon. Court 'l`he methods engaged by Hopl<ins law
in their submissions have proveii to he materially hamiful, egregious in

nature and deceptive practices before this Horl. Ceurs

WHEREFGRE, PREMSES C{)NSH)ERED, Defendahts Johh Bm’l<e and

hanna Bi.xrlrez pray that its Mstiori to Bismiss Opposing Counsel Hspk.ins

Law, the record he stricken pertaining as stated, and Summaiy Judgment be

REAI~`FIRMED is favor afthe Defendants, and for such further relief is law

or at equity to which it may show itself entitled

RESPECT,FUILY submitted this S‘h clay ofJuly, 20l6.

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My game is hamm Burkc, my date beir§h is Ngvembe: 25, 1938, my address is 46,
Kingwo¢)d Gr€ens Dr, Kingwe)od, TX 77339 and l declare under penalty ofpezjury
that the foregoi;zg is true and correct.

ig ` /S/ 1 him Burke
x? 011/vw 1 M<O
30 @H'k$: / State eff-greg / Pro Se

,¢»~-»"

//"/ w 46 Kingwo€)d Greens Dr
ngwood, Texas 77339
Ph<me Niimb€r; (281) 812-9591

FAX # +1{366) ?05-0576

s;\

My name is John Burke, my date of birth is July 16, 1937, my address is 46,
angwood Grecns Dr, Kingwood, TX 77339 and I declare under penalty of

perjury that the foregoing is true and correct.,

Q®l$/ John Burke

wm Bué:e1 S¢/ate owens /Pm Se
46 Khzgwood Greens Dr
Kingwood, Texas 77339

Phone Nmnber; (28:) 312-9591
FAX # +1(866) 705~0576

 

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CERTIFICATE OF SERVICE

I hereby certify that en luly Sth, 2015, I served copies to the Dist;riet Court,
by USPS Pr§gxixy Mai!;

Clerk ofCou'r€

United Stafes Da`s§‘§:t Cezart
515 RHSK St

CGUIU‘GOB 793

H€)ustem TX 7 7€}92

And also Served copies to the following pames, by USi first class mail:

Mr, Mark D, Hepkine

HOPKINS LAW, PLLC

12117 Bee Caves R<i., Suite 260
Austin, Texas 78738

{512) 600-432&; (512) 690-4326 Fax
mark@hopici:zslawtexas.com

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w /S/ blm Burke
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